Case 20-20425-GLT       Doc 284
                              Filed 04/30/21 Entered 04/30/21 17:10:00 Desc Main
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                                                                 U.S. BANKRUPTCY
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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:

 VIDEOMINING CORPORATION,                       Bankruptcy No. 20-20425-GLT

              Debtor.                           Chapter 11

 VIDEOMINING CORPORATION,                       Document No.

              Movant,                           Related to Doc. No. 274
                                                                    250

       vs.

 ENTERPRISE BANK, WHITE OAK
 BUSINESS CAPITAL, INC., AND
 THE INTERNAL REVENUE SERVICE.
                               MODIFIED
                            ORDER OF COURT

       Upon Consideration of the Debtor’s Emergency Motion to (1) Authorize Continued

 Use of Cash Collateral; (2) Extend Maturity Date of the DIP Loan; and (3) Approve Bridge

 Loan (the “Motion”), it is hereby ORDERED, ADJUDGED and DECREED that:

       1.     The Debtor is hereby authorized to use cash collateral through 0D\, 2021,

 consistent with the budget attached to the Motion as Exhibit D. this Order
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        2.    Paragraphs 10(a) and 10(g) of the Modified Final Order Authorizing Debtor
 to Obtain Post-Petition Financing (ECF #113) are hereby modified so that the references

 to “February 28, 2021” and “March 31, 2021” are deleted and replaced with “July 2, 2021”.

       3.     The Debtor is authorized to enter into the Debtor-In-Possession Bridge

 Loan Agreement (the “Bridge Loan Agreement”) attached as Exhibit C to the Motion.

       4.     As set forth in the Bridge Loan Agreement, upon funding of the Bridge Loan,

 Onmyodo, LLC shall be granted an administrative claim in the amount of $72,150.00 until

 the Bridge Loan has been repaid.
Case 20-20425-GLT      Doc 284    Filed 04/30/21 Entered 04/30/21 17:10:00        Desc Main
                                 Document      Page 2 of 3



        5.     Additionally, Onmyodo, LLC shall be granted a second position lien in the

 $125,000 Security Deposit Account currently owned by Rajeev and Vishnu Sharma and

 held at Enterprise Bank, which account was authorized by and identified in this Court’s

 Order entered at ECF #250.

        6.     Except as expressly modified through this Order, all terms and conditions

 of the Orders entered at ECF #’s 102, 113, 181, 189, 208, 235 & 250 remain in full force

 and effect.

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                                            United States Bankruptcy Judge


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